 Case 4:21-cv-00184-O Document 249 Filed 10/04/22                Page 1 of 1 PageID 6589



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


 Katherine M. Cleary, et al.,              §
                                           §
                      Plaintiffs,          §
                                           §
        v.                                 §    Civil Action No. 4:21-cv-00184-O
                                           §
 American Airlines, Inc.,                  §
                                           §
                     Defendant.            §


       ORDER GRANTING EXTENSION TO SUBMIT SETTLEMENT PAPERS

       Before the Court is the Parties’ Joint Motion to Modify Deadlines to Submit Proposed

Settlement Papers (ECF No. 247), filed September 30, 2022. For the reasons stated therein, the

Joint Motion is GRANTED and the Court hereby ORDERS that the parties are directed to file

the appropriate settlement papers by Friday, October 14, 2022.

       SO ORDERED on this 4th day of October, 2022.

                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
